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  UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

   UNITED STATES OF AMERICA,            )    CR. NO. 19-00114 HG (2)
                                        )
                   Plaintiff,           )    GOVERNMENT’S SENTENCING
                                        )    MEMORANDUM; CERTIFICATE
        vs.                             )    OF SERVICE
                                        )
   MARILYN AHAKUELO,            (2)     )    Sentencing Hearing:
                                        )    Date: March 28, 2023
                   Defendant.           )    Time: 2:15 p.m.
                                        )    Judge: The Honorable Helen Gillmor
                                        )
                                        )

              GOVERNMENT'S SENTENCING MEMORANDUM

        The United States of America (“United States”), by its counsel, Clare E.

  Connors, United States Attorney for the District of Hawaii, and Michael F.
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  Albanese and W. KeAupuni Akina, Assistant United States Attorneys, hereby

  submits this Sentencing Memorandum in advance of the sentencing hearing of

  Defendant Marilyn Ahakuelo on March 28, 2023. For the reasons that follow,

  taking into account the relevant factors in Title 18, United States Code, Section

  3553(a), the United States recommends a sentence within the advisory guideline

  range of 70 to 87 months imprisonment followed by three years of supervised

  release. In addition to any sentence of imprisonment, the government respectfully

  recommends that the Court enter an order of restitution in the amount

  recommended by probation ($9,686.55) as well as a forfeiture money judgment, as

  previously requested by the government.

  I.    STATEMENT OF THE CASE

        On August 22, 2019, an indictment was filed against the defendant, along

  with her husband, co-defendant Brian Ahakuelo, charging (with respect to this

  defendant) conspiracy, wire fraud, and embezzlement from a labor union.

  Presentence Investigation Report (“PSR”), Dkt. No. 301, at ¶¶ 1-6. From October

  14, 2022 through November 18, 2022, the defendant appeared for a jury trial, after

  which the defendant was adjudged guilty as to all charged counts. Id. at ¶ 9.

        Since the time of her arrest, the defendant has been released on bail

  conditions. Id. at ¶ 8. Following the guilty verdict, the Court permitted the

  defendant to remain on the same conditions. Id. at ¶ 10. According to the U.S.


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  Probation and Pretrial Services Office, the defendant has complied with all Court-

  ordered conditions of pretrial release. Id.

  II.   RECOMMENDATION

        A.     Nature and Circumstances of the Offense

        The summary in the defendant’s PSR fairly and accurately describes the

  offense conduct, and after an extended trial, this Court is very familiar with the

  offense conduct. This defendant was charged in the Indictment for her conduct in

  two areas: (i) her role as a co-conspirator of Brian Ahakuelo in the rigging of the

  dues increase vote in January 2015; and (ii) her use of union funds to pay for

  personal travel.

        Brian Ahakuelo was elected the Business Manager / Financial Secretary

  (“BM/FS”) for International Brotherhood of Electrical Workers (“IBEW”) Local

  Union 1260 in July 2011, and he immediately hired the defendant as a clerical

  employee. By late 2014, due in large part to vastly increased spending, Brian

  Ahakuelo initiated the process to propose a dues increase to the membership of

  Local Union 1260.

        The Local Union 1260 Bylaws required that “dues, admission fees, and/or

  assessments shall not be increased except by a majority vote by secret ballot of the

  members in good standing….” Several proposed resolutions, including the dues

  increase resolution, were read at the December 2014 membership meetings of each


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  of the nine voting units and voted on in January 2015. It was quickly apparent

  that the dues increase resolution was very unpopular, particularly among the

  utilities employees who made up a large proportion of Local Union 1260. For

  example, the January 2015 meeting with Unit 1, which consisted primarily of

  HECO employees, was very contentious, and Unit 1 voted against the dues

  increase 197 (no votes) to 22 (yes notes). While the dues increase resolution

  passed in some of the smaller units, taking out Units 4 and 9 (discussed below), the

  dues resolution was set to fail by a resounding margin, 402 (no votes) to 98 (yes

  votes).

        Unit 4 included the television stations and most of the staff of LU1260, as

  well as a few other employers. The meetings were held at the conference room at

  the Topa Tower offices, and were typically attended by less than 10 people.

  According to the Unit 4 minutes, the Unit 4 membership meeting occurred on

  January 19, 2015 and the dues increase resolution passed by a vote of 98 yes votes

  to 11 no votes. However, the evidence at trial showed that the minutes were false.

  The minutes reflected that over 100 members attended and that the votes were

  counted at the meeting. The actual meeting had less than 12 persons in

  attendance, and the votes were not counted at the meeting – rather, they were

  counted in secrecy by a relative of the Ahakuelo family (the defendant’s daughter-

  in-law’s cousin) at his house, with no witnesses present. According to sign-in


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  sheets, a large proportion of those in attendance were from the TV stations;

  however, witness testimony at trial showed that the TV members were unaware of

  the vote and would have voted against the increase if given the opportunity.

        The false minutes gave the impression that a vote was carried out in the

  normal course, with members voting in person at a single meeting, and passing the

  dues increase resolution by a resounding margin. They were created for this

  purpose to increase the votes in support of the dues increase resolution. The

  minutes were material, in that the Local Union 1260 secretary reviewed the unit

  meeting minutes and vote tallies in order to calculate the vote total to submit to the

  IBEW International Office. The defendant was the person tasked with creating

  unit minutes for the Oahu meetings, and someone using her computer and

  password was the last to edit the Unit 4 minutes file. Thus, the evidence at trial

  demonstrated that the defendant created the Unit 4 minutes containing falsified

  voting information. But for the false Unit 4 vote, the dues increase vote would

  have failed.

        Even counting the fake results in Unit 4, Units 1 through 8 cumulatively

  voted against the dues increase resolution by a total of 196 yes votes to 413 no

  votes. Unit 9 was the last to vote. Brian Ahakuelo enlisted several co-conspirators

  to falsify the vote in Unit 9 by creating and counting fake ballots. The defendant’s

  role in the Unit 9 vote was limited; however, the evidence showed that the


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  defendant created the minutes for the Unit 9 meeting and emailed them to the Unit

  9 reporter. The Unit 9 reporter testified that she normally prepared the minutes

  herself, and this was the only time that someone from the Honolulu staff prepared

  the meeting minutes. Given the circumstances, it is a reasonable inference that the

  defendant knew of the fraud at Unit 9 when preparing the Unit 9 minutes, and that

  she was tasked to create the minutes rather than the Unit 9 reporter so that Brian

  Ahakuelo could tightly control exactly what information went into the minutes.

  This control was particularly crucial, as Brian Ahakuelo had made an off-the-

  record promise to the Unit 9 membership not to increase their dues, a promise he

  desired to hide from the other units and the IBEW International Office.

        The defendant did not participate in the conspiracy purely out of spousal

  obligation – she directly benefited from her actions. With Brian Ahakuelo in

  charge, the defendant saw steady promotions and increases in pay throughout her

  employment at Local Union 1260. By 2016, the defendant was receiving an

  annual salary of well over $100,000 per year. Id. at ¶ 43. The defendant’s

  employment record since 2016 suggests that the market value of her professional

  experience and education is far less, as her gross monthly income (despite working

  full time) at each of her jobs since leaving Local Union 1260 has been

  approximately 25% of the rate she received at Local Union 1260. Compare Id. at

  ¶ 97 (employed at Holiday Inn Express, gross monthly income $2,513.33) to ¶ 102


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  (employed at Local Union 1260, gross monthly income $10,046.40). The dues

  increase contributed to Local Union 1260’s ability to pay the defendant’s salary

  and continue to employ other Ahakuelo family members. She also benefited by

  attending several luxurious business trips, including to Tokyo and Macau, that had

  little (if any) legitimate benefit to the Local Union 1260 membership.

        Another benefit that the defendant received was that she and her husband

  used Local Union 1260 money to pay for personal travel, frequently in first class

  seats. The evidence at trial showed that the defendant embezzled over $7,000

  over three instances of personal travel, charged in Counts 65 through 67. Id. at ¶

  41. All told, the defendant was a key part in Brian Ahakuelo’s crimes, and a key

  beneficiary as well.

        B.     History and Characteristics of the Defendant

        The defendant has no criminal history. Id. at ¶ 78. She has consistent

  employment history since leaving Local Union 1260. Id. at ¶¶ 97-102

        She graduated from high school in Wahiawa in 1981 and reports no college

  education. Id. at ¶ 96. Despite having significant total assets, including a 2016

  Porsche Boxster and a 2021 Mercedes-Benz C 300, the defendant reports a

  negative net worth of -$94,993, largely as a result of significant credit card,

  vehicle, and student loan debt. Id. at ¶ 103. According to court records, the

  defendant and her husband filed for Chapter 7 bankruptcy in 2001. Id. at ¶ 104.


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        C.      The Need for the Sentenced Imposed

        18 U.S.C. § 3553(a) includes the need for a sentence to afford adequate

  deterrence and protect the public. The defendant conspired with her husband to

  falsify the results of a dues increase vote that was not supported by the majority of

  members, thus causing financial damage to the union itself (when it later had to

  borrow money to refund the dues) and reputational harm as well. She did so both

  out of loyalty to her husband and out of greed, to continue the lifestyle she had

  achieved while Brian Ahakuelo was the head of the union – six-figure salary,

  lavish “business trips” around the world, and union funds to pay for personal

  travel. While the defendant is no longer employed by any local labor

  organization, and thus specific deterrence is not applicable, the Court’s sentence

  should send a message that any participation in such a scheme that results in

  financial or reputational harm to a local labor union will result in significant

  punishment.

        D.      The Kinds of Sentences Available and the Sentencing Range

        Based on the defendant’s offense level and criminal history category, the

  U.S.S.G. suggest a guideline range of 70 to 87 months of imprisonment, followed

  by 1 to 3 years of supervised release. A sentence of probation is not prohibited by

  statute, but not recommended by the guidelines. Id. at ¶¶ 113-15.

        E.      The Need to Avoid Unwarranted Sentence Disparities


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        In this case, there are four potential comparators. Michael Brittain, Daniel

  Rose, Lee Ann Miyamura, and Russell Yamanoha each cooperated with the

  government and all pled guilty to the same charge – conspiracy to make and cause

  to be made false entries in records required to be kept by a labor union, a

  misdemeanor offense. Each of these four had a role in the creation of the fake

  ballots for the Unit 9 vote, and two participated in switching the fake ballots with

  the genuine ballots. As reflected in pages 4 to 5 of the PSR, each received

  probation sentences (of varying length), a fine, and community service.

        Brittain, Rose, Miyamura, and Yamanoha are not appropriate comparators

  and should not suggest to this Court that the defendant deserves a non-jail

  sentence. Their roles were more limited than the defendant, and the benefits they

  received from their participation were less significant. Most importantly, each of

  the four cooperators met with federal investigators, admitted their conduct, and

  agreed to testify both in grand jury and in open court, providing substantial

  assistance to the government. These factors set the four cooperating witnesses in

  a category apart from the defendant.

        F.     The Need to Provide Restitution to Any Victims of the Offense

        The PSR has determined that restitution is mandatory in this case and has

  calculated that the defendant is personally responsible to pay $9,686.55. Id. at ¶¶

  120-121.


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  III.   Recommendation

         The presentence investigation report indicates that the defendant’s offense

  level is 27 and her criminal history category is I, suggesting a guideline range of

  imprisonment of 70 to 87 months. Probation has recommended a downward

  variance to 60 months imprisonment. In balancing all of the statutory factors, the

  government respectfully disagrees that a variance is appropriate and recommends

  that the court impose a guideline sentence of between 70 and 87 months, followed

  by three years of supervised release. Additionally, the government respectfully

  requests the Court issue an order of restitution in the amount recommended by

  probation ($9,686.55) as well as a forfeiture money judgment as filed by the

  government.

         The offense in this case caused great harm to a labor organization that has

  responsibility for approximately 3,000 members in Hawaii and Guam. The

  defendant was motivated primarily by greed, to live a “first class” lifestyle at the

  expense of the members’ interests. The defendant has demonstrated no

  acceptance of responsibility. In fact, her argument for a lower offense level in her

  sentencing statement was essentially that she is innocent, an issue a jury has

  already resolved as a matter of law. The defendant believes she has done nothing

  wrong, which leads the government to believe that she would make the same

  decisions should she be in a similar situation in the future. The defendant’s


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  actions, and her failure to take responsibility for those actions, demand a

  significant sentence, as outlined above.

               DATED: March 21, 2023, Honolulu, Hawaii.

                                                  Respectfully Submitted,

                                                  CLARE E. CONNORS
                                                  United States Attorney
                                                  District of Hawaii

                                                  By /s/ Michael F. Albanese
                                                   MICHAEL F. ALBANESE
                                                   W. KEAUPUNI AKINA
                                                   Assistant U.S. Attorneys




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                           CERTIFICATE OF SERVICE

              I hereby certify that, on the date and by the method of service noted

  below, a true and correct copy of the foregoing was served on the following at their

  last known address:

  Served by CM/ECF:

        Rebecca S. Lester, Esq.
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        Attorney for Defendant
        Marilyn Ahakuelo

  Served by email:

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        Honolulu, HI 96850
        darsie_ing-dodson@hip.uscourts.gov

        DATED: March 21, 2023, Honolulu, Hawaii.

                                               /s/ Michael F. Albanese
                                               U.S. Attorney’s Office
                                               District of Hawaii
